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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                           :
PRESIDENT, INC.                               :
                Plaintiffs,                   :
                                              :
          v.                                  :      Civ. No. 20-5533
                                              :
PHILADELPHIA COUNTY BOARD                     :
OF ELECTIONS,                                 :
              Defendant.                      :

                                        ORDER

      AND NOW, upon consideration of Plaintiff counsel’s Motion for Leave to Withdraw

(Doc. No. 9), it is hereby ORDERED that:

   1. If he has not already done so, Jerome Marcus shall FORTHWITH serve a copy of the

      Motion on his client;

   2. Any interested Party shall respond to the Motion within the time provided by Local Rule

      7.1(c).


                                                        AND IT IS SO ORDERED.

                                                        /s/ Paul S. Diamond
                                                        _________________________
                                                        Paul S. Diamond, J.
